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                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            PINE BLUFF DIVISION

LOUISE KING                                                              PLAINTIFF

VS.                        CASE NO: 5:14-cv-00021-KGB

DAVIS LIFE CARE CENTER                                                DEFENDANT

 PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO RESPOND TO

            DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        Comes now the Plaintiff by and through her counsel, Teresa Bloodman, and

for her motion states:

      1. That the time for Plaintiff’s response to Defendant’s motion for summary

judgment has not passed.

   2. That counsel needs additional time to complete and file said brief due to

problems she is experiencing on this date with her computer causing her to be

unable to complete said brief in a timely manner.

        3. The undersigned is very grateful and appreciates the Court for

understanding.

        4. It is expected that the undersigned will be able to get her computer

Repaired and complete and file said brief with the extension of an additional three

(3) days.

        5. That movant makes this motion in good faith and is not made for the


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purposes of any delay or other illegitimate purposes.

      6. That this motion is in the best interest of justice.

      WHEREFORE, the Plaintiff prays that an extension of three (3) days to file

a response to Defendant’s motion for summary judgment be granted and for all

other proper and just relief.


                                               Respectfully submitted,

                                               /s/Teresa Bloodman #2005055
                                               Attorney for Plaintiff
                                               P.O. Box 13641
                                               Maumelle, AR 72113
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                                               teresabloodman@yahoo.com


                          CERTIFICATE OF SERVICE

      I, Teresa Bloodman, do hereby certify that a true and correct copy of the
foregoing pleading was filed, this 28th day of October, 2015, with the Clerk of
Court using the ECF electronic filing system and notification of such filing was
served electronically to the attorney of record:

Mr. Spence Robinson, Esq.
Ramsay, Bridgforth, Robinson and Raley LLP
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Pine Bluff, AR 71611-8509
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                                                        /s/ Teresa Bloodman




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